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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

    VEROBLUE FARMS USA INC.,                  §
                                              §
           Plaintiff,                         §
                                              §
    v.                                        §   Civil Action No. 3:19-CV-0764-X
                                              §
    LESLIE A. WULF, et al.,                   §
                                              §
           Defendants.                        §

                        MEMORANDUM OPINION AND ORDER

         Before the Court are two motions for summary judgment and one motion for

 partial summary judgment.      Defendants Leslie A. Wulf (“Wulf”), Bruce A. Hall

 (“Hall”), James Rea (“James”), and John E. Rea (“Ted”) (collectively, the “Founders”)

 filed one motion for summary judgment (the “Founders’ motion for summary

 judgment”). [Doc. No. 469]. Defendant Keith Driver (“Driver”) filed one motion for

 summary judgment (“Driver’s motion for summary judgment”). [Doc. No. 465]. And

 plaintiff VeroBlue Farms USA, Inc. (“VeroBlue”) filed one motion for partial summary

 judgment (“VeroBlue’s motion for summary judgment”). [Doc. No. 476]. For the

 reasons below, the Court DENIES the Founders’ motion for summary judgment and

 DENIES Driver’s motion for summary judgment. The Court GRANTS IN PART

 and DENIES IN PART VeroBlue’s motion for summary judgment.

                              I. Factual Background

         The Founders and Driver formed VeroBlue Farms, Inc. (“VBF Canada”) on

 May 1, 2014.     VeroBlue, a Nevada corporation and subsidiary of VBF Canada,


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 operates as a sustainable fish farm business in Webster City, Iowa. Until July 7,

 2016, Wulf, Driver, Hall, and James were the only individuals serving as officers and

 directors of VeroBlue. In July 2016, VeroBlue received large investments from Alder

 Capital International Ltd. (“Alder”) and FishDish, LLC (“FishDish”).       After the

 transaction closed on July 7, 2016, VeroBlue’s board increased to seven directors

 comprised of the following: two of the Founders, two Alder representatives, one

 FishDish representative, and two Founder-selected, independent board members.

       A few months later, on November 16, 2016, following his removal from his

 position as Chief Operating Officer of VeroBlue, Driver sent VeroBlue a letter

 claiming VeroBlue breached his Employment Agreement and that he desired to

 negotiate a new employment agreement. On January 13, 2017, VeroBlue and Driver

 entered into a Business Relationship Restructuring Agreement (the “Restructuring

 Agreement”). The Restructuring Agreement did three things: (1) terminated Driver’s

 Employment Agreement with VeroBlue, (2) established Driver as a consultant, and

 (3) included a mutual release of employment claims.        Both Driver and Wulf—

 VeroBlue’s CEO at the time—executed the Restructuring Agreement.

       On June 24, 2017, VeroBlue hired Norman McCowan as director of post-

 production, and he began to suspect VeroBlue’s Feed Conversion Ratio (a

 measurement of productivity of livestock by comparing the input required to produce

 output) was not accurate.    Acting on this suspicion, McCowan tested the Feed

 Conversion Ratio further and recognized that the Founders’ representations might

 be false. McCowan reported his worries to the board, and, by September 2017, the



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 board began to become suspicious of the Founders. In late 2017, after VeroBlue

 experienced both tank technology issues and other general performance issues, Alder

 took over the majority ownership of VeroBlue and, subsequently, control of the board.

 Having lost control, all the remaining Founders were fired.

         After terminating the Founders, VeroBlue further investigated the Founders’

 alleged misconduct.      The investigation concluded that the Founders were

 fraudulently concealing their misconduct from VeroBlue. Through its investigation,

 VeroBlue allegedly discovered numerous schemes consummated by the Founders

 since VeroBlue’s incorporation and that those schemes continued through the

 Founders’ termination.    VeroBlue brought this suit alleging that the Founders

 orchestrated many of these schemes by ordering VeroBlue to make loans or

 investments into other stocks and companies that the Founders owned. VeroBlue

 also alleges that the Founders misappropriated funds for personal use including

 living expenses, personal cell phone bills, and non-business travel expenses, inter

 alia.

         The Court now has multiple motions for summary judgment before it—Driver’s

 motion for summary judgment, the Founders’ motion for summary judgment, and

 VeroBlue’s motion for summary judgment. Regarding Driver’s motion for summary

 judgment, Driver argues he is entitled to summary judgment based upon the signed

 mutual release provision found within Section 5 of the Restructuring Agreement.

 Driver asserts that the mutual release provision bars each of the sixteen causes of

 action because the broad language of the release provision covered all “known and



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 unknown” causes of action between VeroBlue and Driver.1 Driver also asserts that,

 even after becoming aware of the alleged fraudulent acts, VeroBlue still decided to

 ratify the release provision.

       Regarding the Founders’ motion for summary judgment, the Founders allege

 that VeroBlue does not have evidence of damages and that its claims—in light of

 “flawed and unreliable” expert’s testimony—are wholly unsubstantiated.2

       VeroBlue’s motion for summary judgment argues against several of the

 defendants’ affirmative defenses and attempts to establish parts of VeroBlue’s

 affirmative claims.

                                      II. Legal Standard

       District courts can grant summary judgment only if the movant shows that

 “there is no genuine dispute as to any material fact and the movant is entitled to

 judgment as a matter of law.”3 A dispute “is genuine if the evidence is sufficient for

 a reasonable jury to return a verdict for the nonmoving party.”4

                                          III. Analysis

       The Court will consider each motion for summary judgment in turn.

                     A. Driver’s Motion for Summary Judgment

       Driver argues that the release provision bars VeroBlue’s claims against him

 because it released him from all claims known or unknown. Driver points the Court



       1 Doc. No. 465 at 7.

       2 Doc. No. 470 at 36.

       3 FED. R. CIV. PROC. 56(a).

       4 Goodson v. City of Corpus Christi, 202 F.3d 730, 735 (5th Cir. 2000) (cleaned up).



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 to the release provision itself and asserts that the broad language of the release

 provision renders it to be a “complete, full, and final” release of all claims related to

 Driver’s employment at VeroBlue.5

       VeroBlue responds that the release provision is void because it was “animated

 by a fraudulent purpose.”6 According to VeroBlue and its evidence, Wulf and Driver

 conspired against VeroBlue for years, and they subsequently signed the release as a

 coverup for their illicit dealings.        For support, VeroBlue directs the Court to

 deposition testimony, interrogatories, and other exhibits that demonstrate a dispute

 over the legitimacy of the release provision.7               Specifically, looking to the

 Restructuring Agreement, despite telling Driver that his incompetence was one of the

 grounds for his termination, Wulf agreed for VeroBlue to do all of the following:

 (1) pay Driver $550,000 in exchange for his shares, and another $500,000 in five

 installments; (2) keep Driver on at a six figure salary as a “consultant” in the very

 areas in which Driver had already been deemed incompetent, and (3) agreed to a

 mutual release whereby Driver gave up certain employment related claims in

 exchange for a broad form release.8 This amounts to some evidence disputing the

 legitimacy of the release provision.

       In the alternative, Driver argues that VeroBlue ratified the mutual-release

 provision after becoming aware of the alleged fraud. According to Driver, VeroBlue



       5 Doc. No. 466 at 15.

       6 Doc. No. 514 at 25.

       7 See id. at 11–14.

       8 Doc. No. 467 at 5–7.



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 ratified the mutual-release provision in a letter from December 28, 2017 and an email

 from January 12, 2018.         VeroBlue denies Driver’s claims that it ratified the

 agreement because it did not have knowledge of all material facts at the time of the

 ratification. Regarding the December 28 letter, Driver argues, while the December

 letter terminated his consulting agreement, the letter also specifically stated the

 release provision would survive the termination. VeroBlue directs the Court to the

 appendix of the brief in support of Driver’s MSJ as evidence to show that the

 “[n]either the [Restructuring Agreement] nor its release language is mentioned in the

 December 28, 2017 McCowan letter.”9

       Regarding the January 12 email, VeroBlue responds that Driver confuses the

 email with a letter from February 2 and that “[t]hose communications refer to the

 [Restructuring Agreement] but not to its release provisions.”10 VeroBlue adds that

 “[t]he January email was sent directly from McCowan to Driver and stated that the

 company’s forensic investigations were ‘ongoing,’” meaning that they did not have full

 knowledge of the facts when writing the letter.11 In McCowan’s January letter, he

 writes that VeroBlue is “suspending all future payments to [Driver] under the

 Termination Agreement until its forensic investigation is completed and any

 obligation thereunder are resolved.”12 Meanwhile, the February 2 letter states that

 “[VeroBlue] is allowed to cancel any payments due to Mr. Driver under Section 6(a)



       9 Doc. No. 514 at 46.

       10 Id. at 47.

       11 Id.

       12 Doc. No. 467 at 87.



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 of the Severance Agreement where Mr. Driver breaches Section 4 of the Severance

 Agreement,” and “[VeroBlue] has received information that Mr. Driver has breached,

 and continues to breach, the non-compete provisions of Section 4.”          The Court

 concludes both letters are some evidence that VeroBlue did not have full knowledge

 of the facts at the time of the alleged ratification.13

        Accordingly, a genuine dispute of material fact exists, and therefore the Court

 DENIES Driver’s motion for summary judgment.

                   B. The Founders’ Motion for Summary Judgment

        The Founders’ motion for summary judgment includes multiple arguments as

 to why their motion should be granted. The Court will cover each argument.

        First, the Founders’ motion for summary judgment argues that VeroBlue failed

 to show that it suffered $93 million in injuries, and therefore summary judgment is

 warranted. Specifically, the Founders assert that VeroBlue’s damage model fails as

 a matter of law both because the damages sought by VeroBlue are actually damages

 to third parties and because the model is based on flawed expert testimony. Since

 the Court denied the Founders’ motion to exclude Kleinman’s testimony, the relevant

 controversy for this issue is the damages sought.

        In its response, VeroBlue argues that it did indeed suffer injuries because it

 can be true both that third parties were defrauded and that the Founders breached

 their fiduciary duties to VeroBlue. To demonstrate its injuries, VeroBlue highlights

 that lost or misappropriated assets are reflected in VeroBlue’s financial documents



        13 Id. at 88.



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 and Kleinman’s report including, inter alia, (1) at least $30 million paid to expand

 and construct various projects of VeroBlue’s including its Urban Farm and Blairsburg

 Nursery; (2) at least $6.6 million for additional tanks, and (3) $3.6 million paid for

 tank technology such as Opposing Flows Technology. Upon reviewing this evidence,

 the Court agrees that a genuine dispute of material facts on damages exists.

        Second, the Founders assert the Court should use its equitable power to

 prevent recovery under the Bangor Punta doctrine. The Bangor Punta doctrine exists

 to “deny unjust enrichment which might otherwise occur when those who buy stock

 at a price reflecting pre-purchase corporate misconduct, seek to convert that price

 into a profit-producing claim for damages.”14 According to the Founders, the Bangor

 Punta doctrine applies for the following reason: Should VeroBlue prevail, it will

 receive a windfall and be unjustly enriched.

        The Court disagrees. In Bangor Punta, the plaintiff seeking damages acquired

 an overwhelming amount of its shares “well after the alleged wrongs were said to

 have occurred.”15 Here, VeroBlue’s remaining shareholder acquired its shares during

 the alleged mismanagement and misappropriations. Thus, “even if [the shareholder]

 were the principal beneficiary of any recovery in this case, it still could not fairly be

 considered the beneficiary of a windfall.”16

        Third, the Founders argue that VeroBlue’s fraudulent-concealment and



         14 Rivercity v. Am. Can Co., 600 F. Supp. 908, 917 (E.D. La. 1984), aff’d, 753 F.2d 1300 (5th

 Cir. 1985).
        15 Bangor Punta Operations, Inc.   v. Bangor & Aroostook R.R. Co., 417 U.S. 703, 711 (1974).
        16 Meyers v. Moody, 693 F.2d 1196, 1207–08 (5th Cir. 1982) (cleaned up).



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 misrepresentation claims warrant summary judgment. The Founders attempt to

 support this argument by showing four things: (1) fraudulent concealment is not an

 affirmative cause of action; (2) there is no allegedly fraudulent concealment because

 actionable conduct occurred before July 7, 2016; (3) there is no evidence of VeroBlue’s

 justifiable reliance on the Founders’ post July 7, 2016 conduct; and (4) there is no

 evidence to support causation for fraudulent conduct prior to July 7, 2016. The Court

 disagrees.

        Initially, under Texas law, fraudulent concealment is interchangeable with

 fraud by nondisclosure.17 Specifically, VeroBlue asserts it is pursuing a claim of fraud

 by nondisclosure and that it has sufficiently pled the elements of that claim. As

 evidence, it directs the Court to, among other things, the “nondisclosure of criticisms

 by aquaculture experts Dr. Michaels, Dr. Fitzsimmons, and FTAL.”18 Accordingly,

 VeroBlue has a fraud by nondisclosure claim, which is valid under Texas law.

        Likewise, there is some evidence of fraudulent conduct (and causation) before

 July 7, 2016. VeroBlue points the Court to “evidence that those associated with

 VeroBlue did receive fraudulent statements (or were subject to fraudulent

 concealments) prior to July 7, 2016.”19 For example, VeroBlue shows that Kenneth

 Lockard, a director appointed before July 2016, relied on misrepresentations and

 concealments even after joining the board. Lockard stated at his deposition that he


         17 See United Tchr. Assocs. Ins. Co. v. Union Lab. Life Ins. Co., 414 F.3d 558, 567–68 (5th Cir.

 2005) (“Courts in Texas have consistently held that fraud by nondisclosure or concealment requires
 proof of all of the elements of fraud by affirmative misrepresentation[.]”).
        18 Doc. No. 513 at 45.

        19 Id. at 48.



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  “relied on the foundational comments that were in the [December 21, 2015

  marketing] deck like the growth ratios, the water and the feed ratios.”20

  Furthermore, he stated, “[e]ven when I was a board member, I relied on the

  foundational facts that were set out in the deck because I remembered those. . . .

  [T]hat’s how we created the budget[.]”21              At the summary judgment stage, this

  evidence of pre-2016, non-Founder officers and directors relying on fraudulent

  statements demonstrates a genuine dispute of material fact exists regarding this

  claim.

           Regarding conduct occurring after July 7, 2016, the Founders argue that

  VeroBlue cannot, either legally or factually, establish actual and justifiable reliance.

  They are wrong on both fronts. Legally, VeroBlue is correct that the Founders’

  knowledge of wrongdoing is not imputed to the entity.22 The law is clear: “Courts

  have refused to impute the knowledge of principals to controlled entities where the

  officers allegedly filled their own pockets while fraudulently extending the life of the

  institution they continued to milk and where they systematically looted [the

  company] of its most profitable and least risky businesses as well as millions of

  dollars in income[.]”23 Factually, VeroBlue explains how the non-Founder board

  members and shareholders continued to rely on the Founders’ misrepresentations



           20 Doc. No. 516-3 at 140.

           21 Id.

           22 Doc. No. 513 at 50.

           23 Taylor v. Scheef & Stone, LLP, No. 3:19-CV-2602-D, 2020 WL 4432848, at *3 (N.D. Tex. July

  31, 2020) (Fitzwater, J).



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  because the misrepresentations were “material to [VeroBlue]’s decisions regarding

  continued operations, intake and expenditure of [VeroBlue] corporate funds, and its

  management.”24 VeroBlue evidences the reliance of the independent board members

  in multiple ways.25 One of the pieces of evidence to which it points is how, from

  August 2016 to October 2017, the Founders both misrepresented and concealed

  important data (including Feed Conversion Ratio data, mortality data, and density

  data) from monthly management reports sent to VeroBlue’s independent directors.26

  Accordingly, the Court finds a dispute exists here.

          Fourth, the Founders argue summary judgment is appropriate for VeroBlue’s

  fiduciary-duty and constructive-fraud claims. To support their claim, the Founders

  provide three justifications: (1) The Founders’ legal duties ran to VeroBlue’s parent

  company, VeroBlue Canada, (2) the Founders’ duties, to the extent VeroBlue was

  insolvent, ran to the creditors, and (3) VeroBlue has failed to establish damage for its

  claims. VeroBlue opposes these assertions by arguing the Founders owed VeroBlue

  fiduciary duties, as a matter of law, during the relevant time period. Specifically,

  VeroBlue highlights that the law in Delaware, Nevada, and Texas is clear: directors

  and officers owe fiduciary duties to the corporation.27                       Similarly, VeroBlue’s



          24 Doc. No. 513 at 52.

          25 Id. at 18–19.

          26 See Doc. No. 517-13 at 211–347.

           27 Sneed v. Webre, 465 S.W.3d 169, 178 (Tex. 2015) (“Directors, or those acting as directors,

  owe a fiduciary duty to the corporation in their directorial actions[.]”) (cleaned up); Midwest Janitorial
  Supply Corp. v. Greenwood, 629 N.W.2d 371, 375 (Iowa 2001) (“[D]irectors and officers of a corporation
  have a fiduciary duty to act in all things wholly for the benefit of the corporation.”); Chur v. Eighth
  Judicial Dist. Court in & for Cnty. of Clark, 136 Nev. 68, 72 (Nev. 2020) (“In Nevada, directors and
  officers owe the fiduciary duties of care and loyalty to the corporation.”).

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  insolvency status does not create a genuine dispute of material fact. When a company

  becomes insolvent, the company’s officers and directors take on an additional

  fiduciary duty to the company’s creditors,28 but their prior fiduciary duties to the

  corporation remain.29 For the foregoing reasons, as a matter of law, the Court agrees

  that the directors owed a fiduciary duty to VeroBlue and cannot grant summary

  judgment to the Founders on VeroBlue’s fiduciary-duty and constructive-fraud

  claims.

          Fifth, the Founders argue summary judgment is appropriate for the

  fraudulent-transfer claim because VeroBlue “made or authorized” the transfers.30 In

  effect, the Founders argue that VeroBlue is acting as both the debtor and creditor in

  each of its fraudulent transfer claims. Accordingly, by seeking to void the transfer,

  VeroBlue is seeking to void a transfer to itself. In response, VeroBlue claims only to

  be the creditor in the alleged fraudulent transfers. VeroBlue supports this claim in

  two ways. First, it explains the definition of “creditor” under Texas and Iowa law,

  and second, it points to evidence they provided that the transfers VeroBlue made (at

  the direction of the Founders) were for the Founders’ benefit and that the Founders

  retained control of the transferred property.31 The Court agrees with VeroBlue and

  cannot grant summary judgment on this issue.

          Sixth, the Founders argue the Court should grant their motion for the civil-


          28 Petras v. Mole, No. 3:11-CV-1402-N, 2012 WL 13103200, at *9 (N.D. Tex. May 17, 2012)

  (Godbey, J.).
          29 See id.

          30 Doc. No. 470 at 54.

          31 Doc. No. 513 at 42–44.



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  conspiracy claim. In support, the Founders argue the intracorporate conspiracy

  doctrine bars VeroBlue’s conspiracy claim.                VeroBlue argues the intracorporate

  conspiracy doctrine does not apply given two exceptions: (1) The conspirators have an

  independent stake in achieving the object of the conspiracy, or (2) the conspirators

  are acting for their own personal purpose.32

         The Court agrees with the Fifth Circuit precedent containing these exceptions

  to the intracorporate conspiracy claim, which precludes summary judgment on the

  conspiracy claim. Both exceptions involve prevalent fact issues here. VeroBlue

  provided evidence, through multiple depositions, that the Founders acted in their

  personal interest.33       For example, John Brobjorg stated in his deposition that

  VeroBlue misappropriated $174,533 in excessive interest for a loan through a

  Founder-related company in which multiple VeroBlue officers including “Mr. Hall,

  Ted Rea and Mr. Wulf, hold an ownership interest.”34                      VeroBlue also provided

  evidence through Tracy Abranas’ statements at her deposition that Wulf

  misappropriated $110,320.00 to reconstruct his personal lake house.35 Accordingly,

  a genuine dispute of material fact exists for the conspiracy claim.

         In their penultimate argument, the Founders argue summary judgment

  should be awarded as to VeroBlue’s claims for unjust enrichment, equitable


         32 Doc. No. 513 at 52; H & B Equip. Co. v. Int’l Harvester Co., 577 F.2d 239, 244 (5th Cir. 1978);

  Benningfield v. City of Houston, 157 F.3d 369, 379 (5th Cir. 1998) (“A possible exception to the
  intracorporate conspiracy doctrine exists when corporate employees act for their own personal
  purposes.”).
         33 See Doc. No. 513 at 12.

         34 Doc. No. 515 at 34–35.

         35 Id. at 18–19.



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  accounting, restitution, and declaratory relief. Regarding unjust enrichment, Texas

  law is unclear on whether unjust enrichment may qualify as an independent cause of

  action,36 however, the Court agrees with VeroBlue’s argument that it would be

  entitled to an unjust enrichment claim through finding the Founders furthered a

  fraudulent scheme.            Accordingly, because the underlying claims should not be

  dismissed, VeroBlue’s unjust enrichment theory survives. Under the same analysis,

  all of VeroBlue’s equitable claims survive because they are permissible remedies for

  claims going to trial. Of course, the Court will fashion the jury charge to avoid any

  double recovery.

            Finally, the Founders assert VeroBlue’s RICO claim should be dismissed. They

  argue VeroBlue is acting as both the enterprise and the perpetrator since “[VeroBlue]

  alleges it was the Founders and the Founders were [VeroBlue].”37 Likewise, the

  Founders assert there is no proximate causal relation between the predicate acts and

  the alleged damages because the alleged predicate acts were used to “generate funds

  for [VeroBlue]” not to damage it.38 VeroBlue contests the Founder’s claim that it is

  acting as both the enterprise and the perpetrator and calls into question whether the

  Founders are an association-in-fact enterprise. VeroBlue explains how the Founders

  are their own enterprise by referencing the Founders’ own motion which states they

  “have worked together for many years pursing various business opportunities.”39


            36 See Janvey v. Alguire, 846 F.Supp. 2d 662, 673-74 (N.D. Tex. 2011) (Godbey, J.) (collecting

  cases).
            37 Doc. No. 470 at 59.

            38 Id. at 60 (emphasis omitted).

            39 Doc. No. 513 at 57.



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  This quote, VeroBlue argues, demonstrates VeroBlue and the Founders are not the

  same—they just worked together.             Additionally, VeroBlue directs the Court to

  evidence that appears to demonstrate that the Founders’ ventures go back as far as

  2003—before VeroBlue even existed.40 VeroBlue has marshalled some evidence that

  the Founders are a separate enterprise from VeroBlue for purposes of the Civil RICO

  claim.

           These genuine disputes of material facts demand that the Court DENIES the

  Founders’ motion for summary judgment.

                       C. VeroBlue’s Motion for Summary Judgment

           VeroBlue seeks partial summary judgment on multiple issues, and the Court

  will address them one by one. However, as a preliminary matter, the Founders

  withdrew          their     affirmative    defenses    of     accord   and     satisfaction,

  superseding/intervening cause, laches, statute of limitations, and conditions

  precedent.41       Accordingly, the Court FINDS AS MOOT VeroBlue’s request for

  summary judgment on these issues.

           In VeroBlue’s next argument, it contends it is entitled to summary judgment

  on the first element of its affirmative claim for breach of fiduciary duty: that the

  Founders and Driver owed VeroBlue a fiduciary duty. In other words, VeroBlue

  argues solely for the existence of a fiduciary duty. This is a question of law. Driver

  did not contest this argument, but the Founders do. They argue summary judgment



           40 Id.

           41 Doc. No. 499 at 42.



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  must be denied because VeroBlue does not establish which state’s fiduciary duty laws

  applies. However, as already explained, fiduciaries maintain duties to an insolvent

  corporation in Texas, Iowa, and Nevada, so any fact issues on insolvency are

  irrelevant.42 For the foregoing reasons, as a matter of law, the Court GRANTS

  summary judgment as to the existence of the element of VeroBlue’s fiduciary duty

  claim that the Founders owed VeroBlue a fiduciary duty.

        Next, VeroBlue argues it is entitled to summary judgment on the Founders’

  First, Fourth, Fifth, Eighteenth, Nineteenth, Twenty-Seventh, Twenty-Eight, and

  Thirty-First affirmative defenses and Driver’s First and Sixth affirmative defenses

  because they fail to provide VeroBlue with fair notice. The Founders assert they did

  provide fair notice because they pled the affirmative defenses by name. The Fifth

  Circuit has held that “merely pleading the name of the affirmative defense[s] . . . may

  be sufficient” to provide the plaintiff with fair notice and ensure the plaintiff is not a

  victim of unfair surprise.43 Here, the Founders’ pleadings made it sufficiently clear

  what affirmative defenses they intended to raise, effectively putting VeroBlue on

  notice. Specifically, the Founders noted in their response they intended to raise these

  affirmative defenses.44 Accordingly, VeroBlue’s request for summary judgment to

  dismiss or strike the Founders’ First, Fourth, Fifth, Eighteenth, Nineteenth, Twenty-

  Seventh, Twenty-Eight, and Thirty-First affirmative defenses and Driver’s First and

  Sixth affirmative defenses is DENIED.


        42 See supra II.B.

        43 Woodfield v. Bowman, 193 F.3d 354, 362 (5th Cir. 1999).

        44 Doc. No. 499 at 28–29.



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        In its next argument, VeroBlue asserts it is entitled to summary judgment on

  the following affirmative defenses: reasonably equivalent value, fair consideration,

  and authorized by law affirmative defenses. The Founders respond, however, that

  fact disputes preclude summary judgment here. They contest VeroBlue’s argument

  that the Founder’s affirmative defenses only apply to fraudulent transfer claims by

  explaining how “it will be [VeroBlue’s] burden to succeed on its fraud and fiduciary

  duty claims, inter alia, to show that the alleged acts caused harm to [VeroBlue].”45

  The Founders continue by saying VeroBlue “will have to prove . . . whether the

  expenditures and transactions [VeroBlue] complains of provided [VeroBlue] with

  reasonably equivalent value or fair consideration.”46 Furthermore, they direct the

  Court to Kleinman’s (who is VeroBlue’s expert) deposition in which she stated, “every

  expenditure by the Founders was waste and constitutes a damage to [VeroBlue].”47

  The Court agrees that, in order to demonstrate that VeroBlue was actually harmed

  in the amount it claimed, VeroBlue must carry the burden to establish for each cost

  or expense the lack of value received. Regarding the same affirmative defenses,

  VeroBlue additionally argues that the Founders provided no evidence of either

  element (reasonably equivalent value or good faith) of these affirmative defenses.

  However, the Founders direct the Court to VeroBlue’s own bankruptcy filings to

  support that VeroBlue indeed received a valuation and even sold out of bankruptcy




        45 Id. at 34.

        46 Id.

        47 Id.



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  for $10,000,000.00.48 Therefore, a dispute over reasonably equivalent value exists

  here, and the Court DENIES summary judgment on these affirmative defenses.

        Regarding the affirmative defenses of ratification, waiver, and estoppel, the

  Founders effectively rebut VeroBlue’s arguments. For example, VeroBlue argues

  ratification is not a proper defense to a breach of fiduciary duty claim because a

  breach of a fiduciary duty is incapable of ratification.           However, the Founders

  correctly respond that summary judgment on the ratification defense cannot be

  granted unless the underlying claim of fraud is proven, and the Court already said

  there is a genuine dispute of material fact regarding whether the fraud occurred.

        Similarly, VeroBlue argues the Court should dismiss the waiver and estoppel

  affirmative defenses because the alleged release in the Restructuring Agreement was

  void and unenforceable.49 However, the Founders continue to assert the release is

  both valid and enforceable based on numerous documents and depositions.50 The

  Court has reviewed the record evidence and concludes a genuine dispute of material

  fact exists as to the enforceability of provisions in the Restructuring Agreement. The

  Court DENIES summary judgment on ratification, waiver, and estoppel.

        VeroBlue makes another challenge to the business judgment rule and unclean

  hands affirmative defenses. Specifically, VeroBlue argues the business judgment

  rule only applies to claims “for breach of fiduciary duty,” and it also argues the Court

  should remove the unclean-hands defense for all VeroBlue’s claims—excluding unjust


        48 Id. at 35 (referencing Doc. No. 463-3 at 246).

        49 Doc. No. 506 at 26.

        50 Supra III.A.



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  enrichment, equitable accounting, rescission, and restitution.51

        Regarding the business judgment rule affirmative defense, VeroBlue asserts

  the Founders have no evidence that their alleged misconduct arose out of the honest

  exercise of their business judgment.      The Founders respond with evidence of

  legitimate reasons for why they completed the transactions that allegedly breached

  their fiduciary duties. Specifically, the Founders point out that the allegedly forged

  FTAI reports resulted in VeroBlue being enriched by $93 million dollars.52

  Accordingly, there is a genuine dispute of material fact regarding the Founders’

  business judgment and decision making.

        Regarding the unclean hands defense, VeroBlue is correct in arguing the

  unclean hands defense is an equitable defense to an equitable recovery. Accordingly,

  the Court GRANTS VeroBlue’s motion and will only allow the equitable defense of

  unclean hands to apply to VeroBlue’s theories of equitable recovery.

        For the preceding reasons, the Court DENIES VeroBlue’s request for

  summary judgment the affirmative defenses of reasonably equivalent value,

  ratification, waiver, estoppel, and business judgment rule. But the Court GRANTS

  VeroBlue summary judgment by only allowing the unclean hands defense against its

  equitable theories.

        Lastly, VeroBlue asserts it is entitled to summary judgment both on James’s

  counterclaim (regarding his alleged right to recoupment and setoff of his pay) and his



        51 Doc. No. 477 at 32, 45–46.

        52 Id. at 46.



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  related recoupment affirmative defense. To support its argument, VeroBlue notes it

  has “conclusively established that its termination of James Rea’s Employment

  Agreement was for ‘Egregious Cause’” and that the Founders fail to offer any contrary

  evidence.53 The Founders oppose this contention by showing their own evidence

  regarding the alleged “egregious cause” of James receiving double payment on his

  July 2016 salary. Specifically, the Founders claim that VeroBlue’s spreadsheet shows

  the double salary payment was made to “RGI Dragon” and not James.54               This

  represents a genuine dispute of material fact.      Accordingly, the Court DENIES

  VeroBlue’s request for summary judgment as to James’s counterclaim and the related

  recoupment affirmative defense.

        For the foregoing reasons, VeroBlue’s motion for summary judgment is

  GRANTED IN PART and DENIED IN PART.

                                     IV. Conclusion

        The Court DENIES Driver’s motion for summary judgment and the Founders’

  motion for summary judgment. The Court FINDS AS MOOT VeroBlue’s motion for

  summary judgment regarding the Founders’ five, withdrawn affirmative defenses of

  accord and satisfaction, superseding/intervening cause, laches, statute of limitations,

  and conditions precedent.      Finally, the Court GRANTS VeroBlue’s motion for

  summary judgment on exclusively the first element of its affirmative claim for breach

  of fiduciary duty: that the Founders and Driver owed VeroBlue a fiduciary duty. And



        53 Doc. No. 527 at 24.

        54 Doc. No. 499 at 26.



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  the Court GRANTS VeroBlue summary judgment by only allowing the unclean

  hands defense against its equitable theories.   However, the Court DENIES all

  remaining parts of VeroBlue’s motion for summary judgment.

        IT IS SO ORDERED this 13th day of March, 2023.




                                              _________________________________
                                              BRANTLEY STARR
                                              UNITED STATES DISTRICT JUDGE




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